                                  Case 2:24-cv-05809-KBH     Document 1-1        Filed 10/30/24      Page 1 of 3

                                                           Exhibit A to the Complaint
Location: Schwenksville, PA                                                                          IP Address: 96.227.92.195
Total Works Infringed: 29                                                                            ISP: Verizon Internet Services
 Work     Hashes                                                                 UTC         Site            Published      Registered   Registration
 1        Info Hash: 677EC7C04A87BA2EAF3A693E65809232888B5B64                     10/11/2024 TushyRaw        10/08/2024     10/16/2024   PA0002494718
          File Hash:                                                                 14:41:53
          D0299BDB3F55847A45CDFC26F8A8E965F152CAE839275B38E761C4723D7E0480
 2        Info Hash: 42760C789DF05E530C33EE99321EA23F020F1E44                     10/06/2024 Blacked         10/05/2024     10/16/2024   PA0002494696
          File Hash:                                                                 15:53:44
          6E91C73710889210AA62845010E6ABDA3BC6CA50E41671610BF43D90293C58A4
 3        Info Hash: D1ED713CA2462D67F26E8BF8213114A49CDB681F                     09/25/2024 Tushy           09/22/2024     10/16/2024   PA0002494781
          File Hash:                                                                 12:34:05
          3B615C4BF233F944C38FD6C72C5FEA8149CFCB0CFDCCD91711EFC9C016B556A2
 4        Info Hash: 79697E57DBB146BFC6D554DC1A6A943D4197AB32                     09/19/2024 Vixen           05/10/2024     06/18/2024   PA0002476920
          File Hash:                                                                 02:52:25
          E0820E05EB60CEA081936669C7F7A5D89DCAAEFF05D895638B2D52378C991DC8
 5        Info Hash: 9D392B54D5FFE92319F3737CC962F7D65B301E64                     09/07/2024 Milfy           09/04/2024     09/18/2024   PA0002490440
          File Hash:                                                                 18:42:35
          40EF01F03984C9D13BF0456533F255FA6BE392C1D2C44303F39B3735E11C2590
 6        Info Hash: D53DEB6224749EF0821E7DCF352B9B6EBC47B267                     09/04/2024 TushyRaw        09/03/2024     09/18/2024   PA0002490531
          File Hash:                                                                 01:30:56
          3F33F69646EFF037AABC7AAC212C82C3B591733664D8A3D84EE6CA9BB95D06F1
 7        Info Hash: E6684B688EB24D22565D5CD5A432D5203F0F6169                     08/31/2024 Vixen           08/30/2024     09/18/2024   PA0002490438
          File Hash:                                                                 22:45:34
          05CBA0A77230E1A2EADF872050C563CFB53E8EAA51CB6B97E510A72B9D1B69DA
 8        Info Hash: 310601F0A679046A4A884D346F18F1D0FE301B6D                     08/29/2024 Vixen           08/23/2024     09/18/2024   PA0002490435
          File Hash:                                                                 02:03:56
          9BBC0210C3FE9FB1BCB99C109809BCBB6DB08C06FB06F920B953DC5368249CFF
 9        Info Hash: 8F2DA95E6D53EDB6BE7BA538BBFDC8D7ACC86A7E                     08/16/2024 Milfy           08/14/2024     09/17/2024   PA0002490354
          File Hash:                                                                 01:50:54
          295DA681276A2E1A9FEDED73B52E6C60BF6D4BC721B0F93E8499627CD0C9620D
 10       Info Hash: 7375A901D3BE6952F99CAA1D89017336B02F3765                     08/03/2024 Vixen           08/02/2024     08/15/2024   PA0002484855
          File Hash:                                                                 20:46:59
          96C0671844877EDE8F1AEC3F74E902A3FE0A4EDAF32015C67A9FE43C2E03CB84
 11       Info Hash: 93932338FA54CE7CA84157E4C4200F52DF40FE9C                     06/16/2024 Vixen           06/14/2024     07/16/2024   PA0002480600
          File Hash:                                                                 13:59:30
          56814AAA9EE9B7193F16F1BD7298AD70D090336D3FB6052426DEF4142B4E767D
                              Case 2:24-cv-05809-KBH     Document 1-1     Filed 10/30/24     Page 2 of 3

Work   Hashes                                                             UTC         Site         Published    Registered   Registration
12     Info Hash: 543406805A25DC23DDA40C17DEF980E50426A5E0                05/19/2024 Vixen         05/17/2024   06/18/2024   PA0002476876
       File Hash:                                                            21:56:35
       706A2CBC43175C21BF2C5DFB65DDCC9A809B570AF8DE5E088FD84768F3D9EB65
13     Info Hash: 6C888036F361D0F1C6D15BE99EAD140D33A0F5C4                05/04/2024 Vixen         04/26/2024   05/09/2024   PA0002470230
       File Hash:                                                            09:48:13
       264B24FDE9371CBF9000731BC1E46C153BE935EAA94E4416945A2285254EC115
14     Info Hash: 60B23B75CB6129C70A44720EEAAD17BEBDE21454                04/04/2024 Blacked       04/03/2024   04/10/2024   PA0002464919
       File Hash:                                                            18:13:49
       FBA3F588BB6977C3B094CCA34D0E6A2DA5D760287621DB813F71B9C5297081AC
15     Info Hash: 493A9DB763093598E7F31859EFA253807432CD8C                02/27/2024 Vixen         02/23/2024   03/13/2024   PA0002459589
       File Hash:                                                            20:30:16
       BF89DA09F113C975BC52616E1F8EC8213814447DBC1782DEAEF75070FBE24684
16     Info Hash: E6E94E736131967FDA771A18CC58D042E0B12FFA                02/26/2024 Tushy         02/25/2024   03/12/2024   PA0002459336
       File Hash:                                                            17:58:01
       EAD7A875AF24D66045AC16808606CDDBD191FF50A3951F15F4DA831B72DB332F
17     Info Hash: 12E04C82096E8CD44633A426BCE5ABCE144566AD                02/14/2024 TushyRaw      02/13/2024   03/12/2024   PA0002459334
       File Hash:                                                            18:05:49
       28172F32B40AD6D4E8F5E5188D2CFA60D6FF5E2A5A400FFAE17415F3152235F8
18     Info Hash: 98197E204DD1E640BEF7AA537A4FBE824762BEA3                02/12/2024 Vixen         02/09/2024   03/13/2024   PA0002459341
       File Hash:                                                            03:58:03
       C8292499AF7E374121E53A6973C4035F46F577E2B74E81A76828AD34E2F59CE4
19     Info Hash: 09855072A84B4BBF2D6180DEFEC9F259DC6D31E6                02/03/2024 Vixen         01/26/2024   02/13/2024   PA0002454776
       File Hash:                                                            03:42:37
       A267716F682A0BB0C8391FCCB2CE8568AF6E03D0097BD537F5CB4ABA629C9ACB
20     Info Hash: 773375756E29F48AD83D332B2587CF1C7DA1BA71                01/24/2024 Vixen         08/14/2020   08/31/2020   PA0002265636
       File Hash:                                                            19:55:15
       75B315AAF9137542699E7C4BD95EAA8DDA3BAFBAD2DA297594F94B59E35219D9
21     Info Hash: CC845533BB056852993B07BA306FBA69FE418344                01/15/2024 Vixen         12/15/2023   01/16/2024   PA0002449514
       File Hash:                                                            22:36:59
       AF82593BF578A5FAF062230C4A5E190184E9D60BA5793A14AAF670BFEB9F4625
22     Info Hash: 192D90AA4CEF89439DAF59A2855B0CB547ECC2F5                01/15/2024 Tushy         01/14/2024   02/14/2024   PA0002455009
       File Hash:                                                            22:14:44
       2D1AAA2ED3B5798F4C25FB40DEAB4590EDDFCA3E3780D643C040087410513F78
23     Info Hash: FB156C5F688006303EBDC9CDFF1772336FBA53F8                08/05/2023 TushyRaw      08/02/2023   08/17/2023   PA0002425540
       File Hash:                                                            20:36:08
       AA440904DA6EA255A08796CF905511ED70E555C6C6F2BA78A948AFACA478FD0A
                               Case 2:24-cv-05809-KBH     Document 1-1    Filed 10/30/24     Page 3 of 3

Work   Hashes                                                             UTC         Site         Published    Registered   Registration
24     Info Hash: 6C639AA8446F7F87521D3F3E65244D3164287F1A                05/22/2023 Vixen         05/19/2023   06/09/2023   PA0002415364
       File Hash:                                                            17:31:42
       4DEB83BF65F44F882F54385B87EC7169F82748E2F40DE7B3152E2B00BAC018EB
25     Info Hash: F8FBC36D824DEAFA3B0065D6F5B56870A30EE4DD                04/17/2023 Vixen         04/14/2023   05/15/2023   PA0002411265
       File Hash:                                                            14:57:26
       C9BE0488CC1277581F0DE03434554ECFA894B8DFC32605AA8319A2FC7BC19879
26     Info Hash: 21A2845346091F5C6640233B97139C5098FFE408                03/20/2023 Vixen         03/17/2023   04/10/2023   PA0002405944
       File Hash:                                                            06:04:05
       C04D526F2D183862334513293B8A22620011286784F1702EE7A53B03A5570927
27     Info Hash: D54AA0900EF67CFEEA274727BD1234A04A851773                02/20/2023 Vixen         02/17/2023   03/08/2023   PA0002400563
       File Hash:                                                            05:38:02
       9E03E8F2EAC1127ABBE3600BBFD0799C99F41910D75F365CA4859CA4C9F337FB
28     Info Hash: AB6EBAFD49EADD71F2316803BF55B6FB26B81EFA                02/13/2023 Blacked       02/11/2023   03/07/2023   PA0002400311
       File Hash:                                                            22:14:42
       22615C4D20273E938E3CC616950F1799A09B612D67EDC9E5CEBB1131A780617F
29     Info Hash: A6D8F7D4C171F92B974D699DEED775D9F49AB6ED                09/11/2022 Vixen         09/09/2022   10/05/2022   PA0002373766
       File Hash:                                                            16:24:30
       A08F7FC0A88AA1C8F2C4644AF5217623DD09124D80F116988FC939FDFF3EBC01
